
On motion of Albert L. Boudreau, Jr., appearing herein as the attorney representing the indigent defendant Melvin Teal, and on suggestion to the Court that the 15th Judicial District Court, Carrol L. Spell presiding, has released the defendant from prison rendering this matter moot since the writs herein had issued for a hearing on a writ of habeas corpus and on suggestion to the Court that Melvin Teal is no longer residing in the Parish of Vermilion nor is he in communication with undersigned counsel and that his whereabouts are unknown:
Ordered that the proceedings in this matter seeking a writ of habeas corpus be and they are hereby dismissed having been rendered moot by the release of the applicant from incarceration.
